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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 20-CV-02795-RBJ

DANA EDMAN-BONDS, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF PAYTON JEAN EDMAN,

Plaintiff,

vs.

MEMORIAL HOSPITAL OF CARBON COUNTY FOUNDATION,
C.R. ENGLAND, INC., AND
VIRGIL HUNTER SUNDAY,

Defendants.
______________________________________________________________________________

 NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT MEMORIAL HOSPITAL
                     OF CARBON COUNTY FOUNDATION
______________________________________________________________________________

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the undersigned hereby

dismisses Defendant Memorial Hospital of Carbon County Foundation without prejudice. Each

party shall bear their own attorney’s fees and costs.

        Respectfully submitted this 10th day of November 2020.



                                              ERIK G. FISCHER. P.C.

                                              /s/ Thomas R. Peterman, Jr.
                                              Thomas R. Peterman, Jr., #50292
                                              125 South Howes-Ste 900, Fort Collins, CO 80521
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                                              Facsimile: (970) 482-4729
                                              Email: Russ@fischerlawgroup.com
                                              Attorneys for Plaintiff
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of November 2020, a true and correct copy of the
foregoing PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
MEMORIAL HOSPITAL OF CARBON COUNTY FOUNDATION was e-filed and e-served
via the Court’s ECF upon the following: Stuart R. Day, Esq., Attorney for Defendant Memorial
Hospital of Carbon County Foundation and Daniel J. Bristol, Attorney for Defendants C.R.
England, Inc. and Virgil Hunter Sunday.


                                                   /s/ Allicia D. Battles
                                                   For Erik G. Fischer, P.C.




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